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                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


MYLAN PHARMACEUTICALS INC.,                        Civil Action No. 2:21-cv-13087
               Plaintiff,                                    (JXN/JSA)
                                                  Return Date: December 20, 2021
   v.
TEVA PHARMACEUTICALS                                  Oral Argument Requested
INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC.,                                Electronically Filed
TEVA NEUROSCIENCE, INC., and
TEVA SALES & MARKETING, INC.,
               Defendants.

          NOTICE OF DEFENDANTS’ MOTION TO DISMISS AND
                       MOTION TO STRIKE

        PLEASE TAKE NOTICE that on December 20, 2021, or as soon thereafter

as counsel may be heard, Defendants Teva Pharmaceuticals Industries Ltd., Teva

Pharmaceuticals USA, Inc., Teva Neuroscience, Inc., and Teva Sales & Marketing,

Inc. (collectively, “Defendants”) by and through their attorneys, will move before

the Honorable Julien Xavier Neals, U.S.D.J., at the United States District Court for
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the District of New Jersey, Martin Luther King, Jr. Building & U.S. Courthouse, 50

Walnut Street, Newark, New Jersey, for the entry of an Order striking paragraphs

92-100 from the Complaint pursuant to Fed. R. Civ. P. 12(f) and dismissing

Plaintiff’s Complaint in its entirety with prejudice pursuant to Fed. R. Civ. P.

12(b)(6).

      PLEASE TAKE FURTHER NOTICE that in support of these motions,

Defendants will rely upon their Brief in Support of Motion to Dismiss and Motion

to Strike, any reply papers, and any oral argument. A proposed Order is also

included for the Court’s consideration.

      PLEASE TAKE FURTHER NOTICE that pursuant to Rule 7.1(b)(4) and

78.1(b), Defendants respectfully request that the Court hold oral argument on this

motion.

                                   Respectfully submitted,


Dated: November 19, 2021

                                   s/ Liza M. Walsh
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